
HOUSTON, Justice
(concurring in the result).
Nancy Green and Barbara S. Rich were full-time employees of the Etowah County Board of Education because their duties required 20 or more hours’ work as lunchroom workers during each normal working week of the school term. Ala.Code 1975, § 36-26-100. Therefore, they were covered by Article 4 of Chapter 26, Title 36. Green and Rich had completed their probationary period of employment (three years), § 36-26-101, and were on permanent status. It is settled Alabama law (absent special circumstances concerning election laws) that:
“The fundamental role of statutory construction is to ascertain and give effect to the intent of the legislature in enacting the statute. Words used in a statute must be *840given their natural, plain, ordinary, and commonly understood meaning, and where plain language is used a court is bound to interpret that language to mean exactly what it says. If the language of the statute is unambiguous, then there is no room for judicial construction and the clearly expressed intent of the legislature must be given effect.”
IMED Corp. v. Systems Engineering Associates Corp., 602 So.2d 344, 346 (Ala.1992). See also Tuscaloosa County Comm’n v. Deputy Sheriffs' Ass’n of Tuscaloosa County, 589 So.2d 687 (Ala.1991); Employees’ Retirement System of Alabama v. Head, 369 So.2d 1227, 1228 (Ala.1979); Bagley v. City of Mobile, 352 So.2d 1115 (Ala.1977); and 3 Sutherland Statutory Construction, 681 (4th ed. 1992).
Therefore, Green and Rich could be terminated only under the provisions set out in § 36-26-103. The fact that the work hours that were terminated were only those in which Green and Rich did custodial work under a separate contract is not relevant. Ledbetter v. Jackson County Board of Education, 508 So.2d 244 (Ala.1987). Green and Rich were full-time employees of the Board on permanent status. It is not relevant what Green and Rich’s rights would be under § 36-26-103 if they had two separate contracts with the Board and neither of those contracts required them to work 20 hours or more a week.
MADDOX, J., concurs.
